Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 1 of 61 Page ID #:1




 1   Juan Hong (State Bar No. 234046)
     Law Office of Juan Hong, A Law Corp.
 2   4199 Campus Drive, Suite 550
 3
     Irvine, CA 92612
     Phone: (949) 334-7710
 4   Fax: (949) 335-6647
     Email: jhong48@gmail.com
 5
     Attorney for Plaintiff
 6   MIJEONG KIM
 7
 8
 9                                United States District Court
10
                              For the Central District of California

11
     MIJEONG KIM, Individually and On )           Case No.
12   Behalf of All Others Similarly Situated )
                                             )    CLASS ACTION
13                                           )
     vs.                                     )
14                                                COMPLAINT FOR:
                                             )
15   BLUE TRITON BRANDS,                     )
     AMAZON.COM, INC.,                       )    (1) VIOLATION OF CAL. BUS. &
16   MOHAMMADREZ SHAHRBABKI, and             )    PROF. CODE §17200: Unlawful
17   DOES 1 through 10.                      )    Conduct
                                             )    (2) VIOLATION OF CAL. BUS. &
18                                           )    PROF. CODE §17200 Unfair Conduct
     Defendants.                             )
19                                           )    (3) VIOLATION OF CAL. BUS. &
                                             )    PROF. CODE §17500 et seq.
20                                           )    (4) VIOLATION OF CAL. CIVIL
21                                           )    CODE §1750 et seq.
                                             )    (5) UNJUST ENRICHMENT/
22                                           )
                                             )    BREACH OF QUASI CONTRACT
23                                           )    (6) VIOLATION OF 18 U.S.C. §
                                             )    1962(c)
24
                                             )    (7) FRAUDULENT
25                                           )    MISREPRESENTATION
                                             )    (8) NEGLIGENT
26                                           )
                                             )    MISREPRESENTATION
27                                           )
28                                           )
                                         1 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 2 of 61 Page ID #:2




 1                                             )   (9) BREACH OF EXPRESS
                                               )   WARRANTY UNDER
 2                                             )   CAL.COM.CODE §2313
 3                                             )
                                               )   (10) BREACH OF IMPLIED
 4                                             )   WARRANTY OF
                                               )   MERCHANTABILITY UNDER
 5                                             )   CAL.COM.CODE §2314(1)
                                               )
 6                                             )
 7                                             )
                                               )
 8                                             )
 9
10
11
12
     1.    Plaintiff MIJEONG KIM (“Plaintiff”), individually and on behalf of all
13
     others similarly situated, bring this Class Action Complaint against Blue Triton
14
     Brands (“TRITON”) (formerly known as NESTLE WATERS NORTH AMERICA
15
     INC.), Amazon.com, Inc. (“AMAZON”), Mohammadrez Shahrbabki
16
     (“SHAHRBABKI”), and DOES 1 – 10, (all defendants are designated
17   “Defendants”) on the basis of personal knowledge, information and belief, and
18   investigation of counsel, alleges as follows.
19
20   INTRODUCTION
21
22   2.    This action deals with a water bottle product manufactured, advertised, sold,
23   or delivered, by Defendants: ARROWHEAD 100% MOUNTAIN SPRING
24   WATER (“the TRITON Product”). The TRITON Product is a bottled water line
25   that Defendant TRITON manufactures, advertises, markets, and sells. The
26   TRITON Product is a bottled water line that Defendants AMAZON and
27   SHAHRBABKI advertise, markets and sell.
28
                                        2 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 3 of 61 Page ID #:3




 1
     3.    At all relevant times, Plaintiff bought the TRITON Product bottles of 237 ml
 2
     (8 oz.) and 500 ml (16.9 oz.) from convenient stores, and grocery markets in Los
 3   Angeles, California, including Target, Costco, Hanam Chain, Galleria Market, and
 4   Smart & Final. The TRITON Product has a label of “ARROWHEAD 100%
 5   MOUNTAIN SPRING WATER.” (EXHIBITs 004, 005, 007.) Inconspicuous
 6   icons of “®” and “BRAND” follow “ARROWHEAD.” A side view of Arrowhead
 7   Mountain is depicted in the label. (EXHIBITs 004, 005, 007.) The font size of “®”
 8   and “BRAND” is much smaller than “ARROWHEAD.” In relative scale, the sign
 9   “ARROWHEAD” is about five times larger than the signs of “®” and “BRAND.”
10
11
12
              ARROWHEAD                                                ® BRAND



13
                               100% MOUNTAIN
14
15                              SPRING WATER
16         Reasonable consumers likely miss the icons of “®” and “BRAND” and read
17   the label as “ARROWHEAD 100% MOUNTAIN SPRING WATER.” (EXHIBITs
18   004, 005, 007.)
19
     4.    The TRITON Product bottles have label of “ARROWHEAD 100%
20
     MOUNTAIN SPRING WATER” with a side view of Arrowhead Mountain.
21
     (EXHIBITs 004 and 005.) Even if the mountain is depicted with its side view,
22
     Plaintiff knew the mountain in the labels is Arrowhead Mountain. Reasonable
23
     consumers know or assume that the mountain in the label is Arrowhead Mountain.
24
     The photos of Arrowhead Mountain with the rock formation of an arrowhead
25
     pointing downward are shown in EXHIBIT 001.
26
27

28
                                      3 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 4 of 61 Page ID #:4




 1   5.     In a case similar to the instant action, the 9th Circuit Court decided in Case
 2   No. 20-56373 (October 22, 2021), Connie Chong v. Nestle Water North America,
 3   Inc. that:
 4          The district court properly accepted as true that Chong believed that
 5          the mountain on the front of the labels was “Arrowhead Mountain,”
            but upon reviewing the labels submitted for judicial notice by Nestlé,
 6          determined that there was not “any indication that the image of the
 7          mountain and lake refer to any specific mountain or lake, but rather
            to the true statement that Arrowhead Water is comprised entirely of
 8          mountain spring water.” The court was correct to find that this case
 9          “presents the rare case where this Court may conclude on the
            pleadings that no reasonable consumer would be misled by any of the
10
            product labels at issue in this suit.”
11
12
            The 9th Court decision may be correct to three panel judges who had never
     seen Arrowhead Mountain or its photos. But, the decision is not correct to
13
     reasonable consumers who ever saw or heard about Arrowhead Mountain.
14
     (EXHIBIT 001.) When the mountain and lake images are combined with the
15
     explicit slogan “ARROWHEAD 100% MOUNTAIN SPRING WATER,”
16
     reasonable consumers would believe that the TRITON Product bottles of 237 ml (8
17
     oz.) and 500 ml (16.9 oz.) are exclusively sourced from the springs in Arrowhead
18
     Mountain. (EXHIBTITs 004, 005, 007.)
19
20   6.     On December 14, 2021, Plaintiff put online purchase orders through
21   Amazon.com website for the TRITON Product bottles of 237 ml (8 oz.) and 500
22   ml (16.9 oz.). (EXHIBITs 002, 003.) On or about December 18, 2021, AMAZON
23   and SHAHRBABKI sent the TRITON Product by mail. (EXHIBIT 006.) Unlike
24   the labels with a side view of Arrowhead Mountain of the TRITON Product

25   bottles purchased from convenient stores, and grocery markets in Los Angeles,

26
     California, the labels of the TRITON Product bottles online ordered to

27
     Amazon.com website include a front view of Arrowhead Mountain which clearly
     shows an arrow pointing downward. (EXHIBIT 002, 003, 006.) Reasonable
28
                                         4 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 5 of 61 Page ID #:5




 1
     consumers would not miss that the mountain in the labels is Arrowhead Mountain.
 2
     (EXHIBIT 001.)
 3
 4   7.       If the three panel judges of the 9th Circuit for the Case No. 20-56373

 5
     (October 22, 2021), Connie Chong v. Nestle Water North America, Inc. saw the
     arrow pointing downward in Arrowhead Mountain on the front label with the
 6
     slogan “ARROWHEAD 100% MOUNTAIN SPRING WATER,” they would not
 7
     state that: “there was not any indication that the image of the mountain and lake
 8
     refer to any specific mountain or lake.”
 9
10   8.       The TRITON Product bottles of 237 ml (8 oz.) and 500 ml (16.9 oz.) which
11   were online-ordered (i.e., wire-ordered) by Plaintiff were delivered by mail around
12   December 18, 2021. The delivered TRITON Product bottles (EXHIBITS 004-005)
13   had the labels with side view of Arrowhead Mountain, not with front view of
14   Arrowhead Mountain. The bottles delivered to Plaintiff were with the front label
15   different from the front label in her online purchase order.
16   9.       Defendants TRITON, AMAZON, and SHAHRBABKI “baited” Plaintiff
17   with the TRITON Product bottles with the label of the front view of Arrowhead

18   Mountain. (EXHIBITs 002, 003, and 006.) When they delivered by mail to

19
     Plaintiff, they “switched” to the TRITON Product bottles with the side view of
     Arrowhead Mountain. (EXHIBITs 004, 005.)
20
     10.      A type of “bait and switch” advertising was used outrageously by
21
     Defendants to sell “Arrowhead 100% Mountain Spring Water.” Plaintiff paid
22
     $53.99 for 48 bottles of 8 oz. (237ml) per bottle. Plaintiff paid $0.14 per oz.
23
     (EXHIBITs 002, 006.) Target store in Gardena sold at $0.01 per oz. (EXHIBIT
24
     007.) Plaintiff paid fourteen (14) times more than what she would pay at Target
25
     store.
26
     11.      When Plaintiff purchased the TRITON Product bottles of various sizes
27
     including 237 ml (8 oz.) and 500 ml (16.9 oz.) with the side view and the front
28
                                          5 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 6 of 61 Page ID #:6




 1
     view of Arrowhead Mountain, she did not read the backside of the label. In the
 2
     front label of the bottles, the statement of “ARROWHEAD 100% MOUNTAIN
 3   SPRING WATER” was provided with the background picture of the side view or
 4   the front view of Arrowhead Mountain and a lake in front of the mountain. Based
 5   on the presentation in the front label, Plaintiff reasonably believed the TRITON
 6   Product was from the springs in Arrowhead Mountain. Plaintiff would not have
 7   purchased the TRITON Product bottles had she known that the spring water might
 8   not be from the arrowhead mountain. Plaintiff would not have purchased the
 9   TRITON Product absent the misrepresentation depicted with the picture of the
10   Arrowhead Mountain.
11   12.   Plaintiff contends that the deception is the false and misleading label, and
12   the injury is the purchase price. (Small v. Lorillard Tobacco Co., Inc., 94 N.Y.2d
13   43, 56 n. 5, 698 N.Y.S.2d 615, 720 N.E.2d 892 [“[P]laintiff might have a claim
14   where a distributor asserts that its bottled water is from a pure and pristine
15   mountain stream while in reality, it was only tap water.”].)
16   13.    In the backside of the labels of the TRITON Product bottle with side view

17
     and front view of Arrowhead Mountain, the source of spring water was not

18
     prominently placed thereon with such conspicuousness (as compared with other
     words, statements, designs, or devices, in the labeling), and is not easily legible.
19
     14.   The backside label of the TRITON Product bottle lists the source
20
     information as:
21
22
           SOURCES: SOUTHERN PACIFIC SPRING, RIVERSIDE
23         COUNTY, CA; ARROWHEAD SPRINGS, SAN BERNARDINO
           COUNTY, CA; LONG POINT RANCH, RUNNING SPRING, CA;
24
           PALOMAR MOUNTAIN GRANITE SPRINGS (PMGS),
25         PALOMAR, CA; DEER CANYON SPRINGS, SAN BERNARDINO
26
           COUNTY, CA AND/OR COYOTE SPRINGS, INYO COUNTY,
           CA.
27

28
                                         6 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 7 of 61 Page ID #:7




 1
           The sources of the spring water include six (6) locations. “Arrowhead
 2
     Springs” is one of them. The TRITON Product bottles purchased by Plaintiff do
 3   not contain water exclusively from ARROWHEAD SPRINGS.
 4
 5   Plaintiff’s Reliance on Defendants’ Unlawful, False, and Misleading
 6   Presentations in the Labels of the TRITON Product
 7
 8   15.   Plaintiff saw, read, and relied on the misleading statements of
 9   ARROWHEAD 100% MOUNTAIN SPRING WATER with the picture of
10   Arrowhead Mountain and the lake in the front label of the TRITON Product bottle.
11   16.   Based on this reliance, Plaintiff believed the TRITON Product was from the
12   springs in Arrowhead Mountain.
13   17.   Plaintiff would not have purchased the TRITON Product absent the
14   misrepresentation depicted in the picture of the label.
15   18.   In fact, Plaintiff bought the TRITON Product bottles which were prohibited
16   from introduction into commerce because they were misbranded. Plaintiff suffered

17
     damages in an amount to equal to the amounts she paid for the TRITON Product

18
     bottles she purchased.
     19.   By engaging in false and misleading marketing, Defendants reaped, and
19
     continues to reap, increased sales and profits.
20
     20.   Defendants knows that the label of the TRITON Product it markets is
21
     material to consumer’s decision to purchase the TRITON Product.
22
     21.   Defendants deliberately cultivated the misrepresentations through its
23
     marketing of the TRITON Product bottles.
24
     22.   Plaintiff’s claim is essentially that, because Defendants’ label on the
25
     TRITON Product bottles did not comply with state and/or federal requirements
26
     regarding the source location, she could not see or did not understand the source
27
     information, and therefore was misled by the unlawful packaging and purchased
28
                                        7 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 8 of 61 Page ID #:8




 1
     the water bottles based thereon. Defendants’ bottles are misbranded and
 2
     unmarketable. Plaintiff was misled as a result of the misbranding and suffered
 3   economic injury because she purchased the products she otherwise would not have.
 4   23.   She would purchase the products as long as Defendants repairs the label
 5   complying with state and/or federal requirements, or Defendants presents accurate
 6   source location of Arrowhead Mountain.
 7
 8   TRITON Products
 9   24.   In early April 2021, Nestlé Waters' bottling operations in the United States
10   were sold One Rock Capital Partners LLC and Metropoulos & Co. The unit
11   rebranded to BlueTriton Brands, based in Stamford, Connecticut. ("Archeological
12   Find Unearthed in Kitchener" (Wikipedia citing
13   https://www.guelphtoday.com/local-news/nestle-waters-sale-finalized-and-a-day-
14   later-ontario-lifts-moratorium-on-permits
15   3597877?utm_source=Email&utm_medium=Email&utm_campaign=Email).
16   Retrieved April 2, 2021. "The 4.3 billion U.S. dollar sale of Nestle Waters North

17
     America to One Rock Capital Partners LLC was announced in February and the

18
     sale closed on Wednesday".)

19   25.   Arrowhead Water, also known as Arrowhead Mountain Spring Water, is a
20   brand of drinking water that is sold in the western United States, particularly in
21   Nevada, Arizona, Utah, Colorado, the Northwest, and in California. It is bottled
22   from 13 springs throughout the Western United States. [1] ("Our Springs"
23   (https://www.arrowheadwater.com/our-springs).) (Wikipedia Arrowhead Water.
24   https://en.wikipedia.org/wiki/Arrowhead_Water)
25
     26.   Arrowhead Mountain Spring Water takes its name from a natural mark in
26
     the San Bernardino Mountains that is shaped like a giant arrowhead. The
27
     arrowhead is naturally barren; it is not manicured in any way. Nearby cold springs
28
                                        8 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 9 of 61 Page ID #:9




 1
     on Strawberry Creek in the San Bernardino National Forest are the original source
 2
     and namesake of Arrowhead water.[2] (Ian James (March 8, 2015). "Bottling water
 3   without scrutiny". The Desert Sun. Retrieved April 25, 2016.) (Wikipedia
 4   Arrowhead Water. https://en.wikipedia.org/wiki/Arrowhead_Water)
 5
     27.   In 1987, Arrowhead waters was bought by Nestlé. Soon after, the presence
 6
     of Arrowhead water bottles in supermarkets across the Western United States grew
 7
     considerably. In 1996, a 24-US-fluid-ounce (710 ml) bottle was introduced by the
 8
     company. By the early 2000s, the company had introduced waters with different
 9
     flavors to the market. It's Better Up Here! is a trademarked tagline for the
10
     Arrowhead Water brand. In 2006, the label released Aquapod under the same
11
     brand umbrella. (Wikipedia. https://en.wikipedia.org/wiki/Arrowhead_Water)
12
13   28.   Southern Californian newspaper the Desert Sun investigated Nestlé's
14   bottling activities in 2015 and published findings that the water company had been
15   operating in the National forest without a permit since its last one expired in
16   1988.[4] Local activists and retired forest personnel began to organize opposition
17   to the Swiss company's continued withdrawal of water from a forest that is

18   struggling from drought and bark beetle.[5] (Wikipedia Arrowhead Water.

19
     https://en.wikipedia.org/wiki/Arrowhead_Water)

20   29.   In December, 2017, the California Water Resources Control Board notified
21   Nestlé that an investigation had concluded that the company does not have proper
22   rights to about three-quarters of the water it withdraws for bottling, including water
23   from the San Bernardino National Forest.[6] (Jablon, Robert (21 December 2017).
24   "TRITON warned it lacks rights to some California water". Washington Post.
25   Archived from the original on 22 December 2017. Retrieved 22 December 2017.)
26   (Wikipedia Arrowhead Water. https://en.wikipedia.org/wiki/Arrowhead_Water)
27

28
                                        9 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 10 of 61 Page ID #:10




  1
      30.   In April, 2021, California regulators moved to stop Nestlé from siphoning
  2
      water from the forest.[7] (April 28, Maanvi Singh; Now, 2021 Like Tweet Email
  3   Print Subscribe Donate (2021-04-28). "California orders Nestlé to stop siphoning
  4   spring water". www.hcn.org. Retrieved 2021-06-03.) (Wikipedia Arrowhead
  5   Water. https://en.wikipedia.org/wiki/Arrowhead_Water)
  6
  7
      31.   https://bluetriton.com/arrowhead on 3/17/2022 provides that:
  8
  9
            “The original source of Arrowhead® Brand 100% Mountain Spring
 10         Water can be found in the San Bernardino Mountains of Southern
 11         California. The natural formation in the shape of an arrowhead on
 12         the San Bernardino Mountains points to our water's legendary
 13         origin, an inspiration for each carefully selected mountain spring
 14         source we use today. A unique composition of naturally occurring
 15         minerals gives Arrowhead Mountain Spring Water a refreshing, crisp
 16         taste. Pure goodness only from mountain springs, refreshing the west
 17         since 1894.” (Emphasis added.)
 18
      32.   TRITON knowingly misrepresents that the TRITON Product bottles with the
 19
      labels of side view and front view of Arrowhead Mountain contain 100 %
 20
      mountain spring water exclusively from the springs in Arrowhead Mountain.
 21
 22   33.   Desert Sun questioned: Is Arrowhead bottled water really spring water?
 23   Nestle confronts questions as officials investigate. (The Desert Sun 4:11 p.m. PT
 24   Jan 4, 2018.)

 25
      Defendant Amazon.com (“AMAZON”)
 26
 27   34.   AMAZON is a global e-commerce behemoth— "the world's largest retailer."

 28
      Its massive website, Amazon.com, "makes up at least 46 percent of the online
                                       10 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 11 of 61 Page ID #:11




  1
      retail marketplace, selling more than its next twelve online competitors combined."
  2
      The migration of consumer spending online, further compounded by the COVID-
  3   19 pandemic, has enabled the once modest online bookstore (initially dubbed
  4   "Cadabra," as in "abracadabra") to make many traditional retailers disappear. And
  5   while AMAZON sells many products itself, most of the items sold on
  6   Amazon.com are listed by millions of third-party merchants. Such sales represent
  7   a fast-growing part of AMAZON's retail empire, and a lucrative one. (McMillan v.
  8   Amazon. com, Inc., 983 F. 3d 194, 196-197, Court of Appeals, 5th Circuit 2020, is
  9   cited.)
 10
      35.       In the instant case, defendant SHAHRBABKI is a third-party seller.
 11
 12   NATURE OF THE ACTION
 13
      36.       The provisions of the Sherman Law upon which Plaintiff relies for the
 14
      instant action make it "unlawful for any person" to: (1) "manufacture, sell, deliver,
 15
      hold, or offer for sale any food... that is "falsely advertised," see Cal. Health &
 16
      Safety Code § 110395; (2) "receive in commerce any food ... that is falsely
 17
      advertised or to deliver or proffer for delivery any such food," see id. § 110400; (3)
 18
      "manufacture, sell, deliver, hold, or offer for sale any food that is misbranded," see
 19   id. § 110760; (4) "receive in commerce any food that is misbranded or to deliver or
 20   proffer for delivery any such food," see id. § 110770; and (5) misbrand any food if
 21   its packaging or labeling is in violation of an applicable regulation issued pursuant
 22   to Section 108685 or 108700. see Cal. Health &Safety Code §110755. It is
 23   unlawful for any person to misbrand any food. see Cal. Health & Safety Code
 24   §110765.
 25
      37.       In the instant case, Defendants TRITON, AMAZON, and SHAHRBABKI
 26
      violated Cal. Health & Safety Code §§ 110395, 110400, 110760, 110765, 110770,
 27
      and 110755.
 28
                                          11 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 12 of 61 Page ID #:12




  1
      38.   Defendant DOES 1-10, as corporate agents, violated 21 U.S.C. § 301(k) by
  2
      not only shirking the duty to seek out and remedy violations, but also the duty to
  3   implement measures to ensure that violations will not occur. (United States v. Park
  4   (1975), 421 U.S. 658, 676-77.)
  5
      39.   Plaintiff brings this class action on behalf of herself and all other similarly
  6
      situated consumers who purchased the TRITON Product asserting claims under
  7
      California’s Unfair Competition Law, Cal. Bus. & Prof. Code §17200, et seq.
  8
      (“UCL” or “§17200”); the False Advertising Law, Cal. Bus & Prof. Code §17500,
  9
      et seq. (“FAL” or “17500”); the Consumer Legal Remedies Act, Cal. Civ. Code
 10
      §1750, et seq. (“CLRA”); Unjust Enrichment/Breach of Quasi Contract; the Civil
 11
      RICO, 18 U.S.C. §1962(c); Fraudulent Misrepresentation; Negligent
 12
      Misrepresentation; Breach of Express Warranty under Cal. Com. Code §2313;
 13
      Breach of Implied Warranty of Merchantability under Cal. Com. Code §2314(1).
 14
 15
      40.   Plaintiff seeks damages and equitable relief on behalf of herself and the
 16
      Class, which relief includes, but is not limited to, the following: their monetary
 17   damages; restitution; refunding Plaintiff and class members the full amount paid
 18   for the TRITON Product; injunctive relief for an order enjoining Defendants from
 19   falsely marketing and advertising the TRITON Product; punitive damages; costs
 20   and expenses, including attorneys’ and expert fees; interest; and any additional
 21   relief that this Court determines to be necessary or appropriate to provide complete
 22   relief to Plaintiff and the Class.
 23   41.   Plaintiff also seeks public injunctive relief that has the primary purpose and
 24   effect of prohibiting unlawful acts that threaten future injury to the general public.
 25   Class certification is not required for “public” injunctive relief under the UCL,
 26   FAL, and CLRA. (see McGill v. Citibank, N.A., 2 Cal. 5th 945 (2017).)
 27

 28
                                           12 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 13 of 61 Page ID #:13




  1
      JURISDICTION AND VENUE
  2
  3   42.   This Court has original jurisdiction 18 U.S.C. §1962(c). This Court also has
  4   original jurisdiction over this action under the Class Action Fairness Act of 2005,
  5   28 U.S.C. § 1332(d)(2) (“CAFA”), as to the named Plaintiff and every Class
  6   Member, because the proposed Class contains more than 100 members, the
  7   aggregate amount in controversy exceeds $5 million, and Class Members reside
  8   across the United States and are therefore diverse from Defendants.
  9   43.   The Court has supplemental jurisdiction over Plaintiff’s state law claims
 10   pursuant to 28 U.S.C. §1367(a). Plaintiff has filed affidavits showing that this
 11   action has been commenced in a proper county pursuant to Cal. Civ. Code
 12   §1780(d).
 13   44.   This Court has personal jurisdiction over Defendants because it has
 14   significant minimum contacts with this State, and intentionally availed itself of the
 15   laws of California by transacting a substantial amount of business throughout the
 16   State and this District, including but not limited to, the promotion, marketing,

 17
      advertising, and sale of the TRITON Product throughout California and Los

 18
      Angeles County, and on the Internet to consumers located throughout California
      and Los Angeles County.
 19
      45.   Venue is proper under 18 U.S.C. § 1965(a), because Defendants are subject
 20
      to personal jurisdiction in this District as alleged above, and Defendants have
 21
      agents located in this District.
 22
 23
      PARTIES
 24
 25
      46.   Plaintiff MIJEONG KIM (“Plaintiff or MIJEONG”) is a resident of the state
 26
      of California. At all relevant times since 2018, Plaintiff learned about the TRITON
 27
      Product when she saw the label of the TRITON Product displayed in grocery and
 28
                                         13 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 14 of 61 Page ID #:14




  1
      convenient stores in Los Angeles, California, and the photos of the TRITON
  2
      Product bottles in the advertisements in AMAZON website. (EXHIBITs 002, 003,
  3   006.) Plaintiff purchased the TRITON Product in reliance on the TRITON
  4   Product’s misleading labels and the advertisements.
  5   47.   On information and belief, Defendants BLUE TRITON BRANDS
  6   (“TRITON”), formerly NESTLE WATERS NORTH AMERICA INC.
  7   (“NESTLE”), is a corporation with its principal place of business in Connecticut,
  8   900 LONG RIDGE ROAD, BUILDING #2, STAMFORD, CT 06902-1138, with
  9   service agent C T CORPORATION SYSTEM (C0168406).
 10   48.   On information and belief, Defendant Amazon.com, Inc. (“AMAZON”) is
 11   located at 410 Terry Ave North, Seattle, WA98109-5210. Its service agent is
 12   Kevin Manuel Silva, 1869 E Grant Line Rd., Tracy, CA95304.
 13   49.   On information and belief, Defendant Mohammadrez Shahrbabki
 14   (“SHAHRBABKI”), at 2630 Walnut Ave. Ste B, Tustin, CA92780-7031, is the
 15   third party seller of the products listed and advertised in Amazon.com: (1)
 16   Arrowhead-Natural Spring Water, 8 oz. Bottle, 48 Bottles/Carton 827163, $53.99.

 17
      (Exhibits 002, 006) (2) Arrowhead 100% Mountain Spring water (16.9 oz. bottles,

 18
      40 ct.), $48.99 (Exhibit 003), $45.99 (Exhibit 006).
      50.    On information and belief, Defendants DOES 1-10 are agents of Defendants
 19
      TRITON, AMZON, and SHAHRBABKI. They are imposed not only the duty to
 20
      seek out and remedy violations, but also the duty to implement measures to ensure
 21
      that violations will not occur, under the Federal Food, Drug and Cosmetic Act, 21
 22
      U.S.C. § 301(k); United States v. Park (1975), 421 U.S. 658.
 23
      51.   Defendants will refer to TRITON, AMAZON, SHAHRBABKI, and DOES
 24
      1 through 10.
 25
 26
      DEFENDANTS’ VIOLATIONS OF FEDERAL AND STATE STATUTES
 27
      AND REGULATIONS
 28
                                        14 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 15 of 61 Page ID #:15




  1
  2
      52.      The basic prohibitions of the FDCA are contained at 21 U.S.C. § 331, which
  3   prohibits, among other things, “causing” the adulteration or misbranding of any
  4   drug (or food, or cosmetic, or “device”) in interstate commerce, or “causing” the
  5   introduction or delivery for introduction into interstate commerce of an adulterated
  6   or misbranded drug.
  7   53.      Plaintiff brings this class action on behalf of herself and all other similarly
  8   situated consumers who purchased the TRITON Product asserting claims under the
  9   Civil RICO, 18 U.S.C. §1962(c).
 10   54.      By manufacturing, advertising, distributing, and selling misbranded product,
 11   ARROWHEAD 100% MOUNTAIN SPRING WATER, Defendants have violated
 12   California Health & Safety Code Sections 110660, and 110705. In addition,
 13   Defendants has violated the standards set by 21 U.S.C. § 343 and its implementing
 14   regulations found in Title 21, Code of Federal Regulations, Part 101 (21 CFR 101),
 15   all of which have been adopted by reference into the Sherman Law, California
 16   Health and Safety Code.

 17
      55.      To prove a false advertising claim, a plaintiff must show a false or

 18
      misleading description of fact or representation of fact by the Defendants in a
      commercial advertisement about its own or another’s product. TRITON’s
 19
      misrepresentation of the source of ARROWHEAD 100% MOUNTAIN SPRING
 20
      WATER in its label is sufficient to state the formal element of a false advertising
 21
      claim.
 22
      56.      In the context of an unlawful-prong claim, a plaintiff must establish that a
 23
      Defendants engaged in unlawful conduct, i.e., violated a federal, state or municipal
 24
      statute, ordinance or regulation, and that, as a result of the Defendants’ unlawful
 25
      conduct, the plaintiff suffered an injury in fact and has lost money or property.
 26
      57.      The United States Federal Food, Drug, and Cosmetic Act (“FDCA”) gives
 27
      the U.S. Food and Drug Administration (“FDA”) authority to promulgate
 28
                                            15 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 16 of 61 Page ID #:16




  1
      regulations to enforce the provisions of the FDCA. 21 USC § 371. The FDA has
  2
      promulgated regulations governing misbranding of food and providing that food is
  3   misbranded if its label expresses or implies a geographical origin of the food or
  4   any ingredient of the food except when such representation is either: (1) A truthful
  5   representation of geographical origin.
  6   58.   The FDA published its final rule on bottled water on November 13, 1995.
  7   Beverages: Bottled Water, 60 Fed. Reg. 57,076 (Nov. 13, 1995). Responding to a
  8   comment stating that “it would be misleading if a country setting is shown on the
  9   label, including lakes or ponds, and the product is drinking water processed from
 10   municipal supplies via reverse osmosis systems [i.e., purified water],” the FDA
 11   responded:
 12
 13         FDA agrees that the use of certain graphics on a label of bottled water
 14         may be misleading to consumers if the source of the water is different
 15         than the source depicted or implied. For example, a country setting
 16         on a label may mislead consumers into believing that the product is

 17         spring water when it is not. Section 403(a) of the act specifically

 18
            states that a food shall be deemed to be misbranded if its labeling is
            false or misleading in any particular. If a product is from a
 19
            community water system, the label must clearly disclose this fact
 20
            except as provided in § 165.110(a)(3)(ii).” Id. at 57,104 (emphasis
 21
            added).
 22
 23
      59.   21 C.F.R. §101.18 (c) provides that: “Among representations in the labeling
 24
      of a food which render such food misbranded is any representation that expresses
 25
      or implies a geographical origin of the food or any ingredient of the food except
 26
      when such representation is either: (1) A truthful representation of geographical
 27
      origin.”
 28
                                        16 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 17 of 61 Page ID #:17




  1
      60.   The FDA standard of identity imposes detailed requirements on the use of
  2
      the “spring water” nomenclature, including “the location of the spring.” 21 C.F.R.
  3   §165.110(a)(2)(vi). The FDA’s spring water Identity Standard also includes two
  4   labeling requirements. First, “the location of the spring shall be identified” on
  5   each water bottle label. 21 C.F.R. § 165.110(a)(2)(vi). Use of the term “spring
  6   water” on bottled water is regulated by the FDA. FDA regulations at 21 C.F.R. §
  7   165.110(a)(2)(vi) specifically define the term:
  8
  9         “The name of water derived from an underground formation from
 10         which water flows naturally to the surface of the earth may be “spring
 11         water.” Spring water shall be collected only at the spring or through a
 12         bore hole tapping the underground formation feeding the spring.
 13         There shall be a natural force causing the water to flow to the surface
 14         through a natural orifice. The location of the spring shall be
 15         identified. Spring water collected with the use of an external force
 16         shall be from the same underground stratum as the spring, as shown

 17
            by a measurable hydraulic connection using a hydrogeologically valid

 18
            method between the bore hole and the natural spring, and shall have
            all the physical properties, before treatment, and be of the same
 19
            composition and quality, as the water that flows naturally to the
 20
            surface of the earth. If spring water is collected with the use of an
 21
            external force, water must continue to flow naturally to the surface of
 22
            the earth through the spring’s natural orifice. Plants shall
 23
            demonstrate, on request, to appropriate regulatory officials, using a
 24
            hydrogeologically valid method, that an appropriate hydraulic
 25
            connection exists between the natural orifice of the spring and the
 26
            bore hole.” (Emphasis added.)
 27

 28
                                        17 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 18 of 61 Page ID #:18




  1
      61.   21 U.S.C. § 343 provides that a “food shall be deemed misbranded” if, inter
  2
      alia, it contains a “false or misleading label,” § 343(a); if information required on
  3   the label is “not prominently placed” on the label in comparison with other words,
  4   § 343(f).
  5   62.   The misbranded products are in violation of section 403 of the Federal Food,
  6   Drug, and Cosmetic Act (the Act) [21 U.S.C. § 343] and its implementing
  7   regulations found in Title 21, Code of Federal Regulations, Part 101 (21 CFR 101).
  8   63.   21 U.S.C. 331(a) prohibits the introduction or delivery for introduction into
  9   interstate commerce of any food, drug, device, tobacco product, or cosmetic that is
 10   adulterated or misbranded.
 11   64.   No state or political subdivision of a State may directly or indirectly
 12   establish under any authority or continue in effect as to any food in interstate
 13   commerce: “any requirement respecting any claim of the type described in section
 14   343(r)(1) of this title, made in the label or labeling of food that is not identical to
 15   the requirement of section 343(r) of this title . . . .” (21 U.S.C. § 343-1(a) (5))
 16   65.   In the instant case, Defendants TRITON, AMAZON, and SHAHRBABKI

 17
      violated Cal. Health & Safety Code §§ 110395, 110400, 110760, 110765, 110770,

 18
      and 110755.
      66.   Defendant DOES 1-10, as corporate agents, violated 21 U.S.C. § 301(k) by
 19
      not only shirking the duty to seek out and remedy violations, but also the duty to
 20
      implement measures to ensure that violations will not occur. (United States v. Park
 21
      (1975), 421 U.S. 658, 676-77.)
 22
      67.   California’s Sherman Laws adopt the federal labeling requirements as the
 23
      food labeling requirements of the state. Cal. Health & Safety Code § 110100 (“All
 24
      food labeling regulations and any amendments to those regulations adopted
 25
      pursuant to the federal act, in effect on January 1, 1993, or adopted on or after that
 26
      date shall be the food regulations of this state.”).
 27

 28
                                          18 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 19 of 61 Page ID #:19




  1
      (1) Any food is misbranded if its labeling is false or misleading in any particular,
  2
      Cal. Health & Safety Code § 110660;
  3   (2) Any food is misbranded if any word, statement, or other information required
  4   to appear on the label or labeling is not prominently placed upon the label or
  5   labeling with conspicuousness, as compared with other words, statements, designs,
  6   or devices in the labeling and in terms as to render it likely to be read and
  7   understood by the ordinary individual under customary conditions of purchase and
  8   use, id. § 110705.
  9   68.   California Health and Safety Code § 110390 states that: “It is unlawful for
 10   any person to disseminate any false advertisement or any food ….. An
 11   advertisement is false if it is false or misleading in any particular.”
 12   69.   California Health and Safety Code § 110395 states that: “It is unlawful for
 13   any person to manufacture, sell, deliver, hold, or offer for sale any food ….. that is
 14   falsely advertised.”
 15   70.   California Health and Safety Code § 110398 states that: “It is unlawful for
 16   any person to advertise any food, drug, device, or cosmetic that is adulterated or

 17
      misbranded.”

 18
      71.   California Health and Safety Code § 110400 make it "unlawful for any
      person" to: "receive in commerce any food ... that is falsely advertised or to deliver
 19
      or proffer for delivery any such food,"
 20
      72.   California Health and Safety Code § 110760 make it "unlawful for any
 21
      person" to: "manufacture, sell, deliver, hold, or offer for sale any food that is
 22
      misbranded."
 23
      73.   California Health and Safety Code § 110770 make it "unlawful for any
 24
      person" to: "receive in commerce any food that is misbranded or to deliver or
 25
      proffer for delivery any such food.”
 26
 27

 28
                                          19 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 20 of 61 Page ID #:20




  1
      74.   California Health and Safety Code § 110755 states that: Any food is
  2
      misbranded if its packaging or labeling is in violation of an applicable regulation
  3   issued pursuant to Section 108685 or 108700.”
  4   75.   California Health and Safety Code § 110765 states that: “It is unlawful for
  5   any person to misbrand any food.”
  6   76.   California Civil Code §1770(a): The following unfair methods of
  7   competition and unfair or deceptive acts or practices undertaken by any person in a
  8   transaction intended to result or that results in the sale or lease of goods or services
  9   to any consumer are unlawful: (2) Misrepresenting the source, sponsorship,
 10   approval, or certification of goods or services; (4) Using deceptive representations
 11   or designations of geographic origin in connection with goods or services.
 12   Defendants TRITON has violated California Civil Code §1770(a).
 13
 14   CLASS ACTION ALLEGATIONS
 15
 16   77.   Pursuant to Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure,

 17
      Plaintiff brings this action individually and on behalf of a proposed class defined as

 18
      follows:
      The Nationwide Injunctive Relief Class. All persons residing in the United
 19
      States and its territories who purchased one or more water bottles sold by TRITON
 20
      with label containing statements of “100% MOUNTAIN SPRING WATER” and
 21
 22         “SOURCES: SOUTHERN PACIFIC SPRING, RIVERSIDE
 23
            COUNTY, CA; ARROWHEAD SPRINGS, SAN BERNARDINO
            COUNTY, CA; LONG POINT RANCH, RUNNING SPRING, CA;
 24         PALOMAR MOUNTAIN GRANITE SPRINGS (PMGS),
 25         PALOMAR, CA; DEER CANYON SPRINGS, SAN BERNARDINO
            COUNTY, CA AND/OR COYOTE SPRINGS, INYO COUNTY,
 26         CA.”
 27

 28
                                         20 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 21 of 61 Page ID #:21




  1
      for their own use, and not for resale, since March, 2018. Plaintiff asks the Court to
  2
      adjudicate only liability, declaratory relief, and injunctive relief through the
  3   Injunctive Relief Class; the Injunctive Relief Class does not seek any form of
  4   monetary relief.
  5   California Subclass for The Injunctive Relief. All persons residing in the state
  6   of California who purchased one or more water bottles sold by TRITON for their
  7   own use, and not for resale, since March, 2018, with label containing statements of
  8   “100% MOUNTAIN SPRING WATER” and
  9
            “SOURCES: SOUTHERN PACIFIC SPRING, RIVERSIDE
 10         COUNTY, CA; ARROWHEAD SPRINGS, SAN BERNARDINO
 11         COUNTY, CA; LONG POINT RANCH, RUNNING SPRING, CA;
            PALOMAR MOUNTAIN GRANITE SPRINGS (PMGS),
 12         PALOMAR, CA; DEER CANYON SPRINGS, SAN BERNARDINO
 13         COUNTY, CA AND/OR COYOTE SPRINGS, INYO COUNTY,
            CA.”
 14
 15
      Plaintiff asks the Court to adjudicate only liability, declaratory relief, and
 16
      injunctive relief through the Injunctive Relief Class; the Injunctive Relief Class
 17
      does not seek any form of monetary relief.
 18
      78.   Additionally, pursuant to Rule 23(a) and (b)(3), Plaintiff brings this action
 19
      individually and on behalf of a proposed class (the “Monetary Relief Class”)
 20
      defined as follows:
 21
 22   The Nationwide Monetary Relief Class. All persons residing in the United
 23   States and its territories who purchased one or more water bottles sold by TRITON
 24   with label containing statements of “100% MOUNTAIN SPRING WATER” and
 25
            “SOURCES: SOUTHERN PACIFIC SPRING, RIVERSIDE
 26         COUNTY, CA; ARROWHEAD SPRINGS, SAN BERNARDINO
 27         COUNTY, CA; LONG POINT RANCH, RUNNING SPRING, CA;
            PALOMAR MOUNTAIN GRANITE SPRINGS (PMGS),
 28
                                         21 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 22 of 61 Page ID #:22




  1         PALOMAR, CA; DEER CANYON SPRINGS, SAN BERNARDINO
  2         COUNTY, CA AND/OR COYOTE SPRINGS, INYO COUNTY,
            CA.”
  3
  4
      for their own use, and not for resale, since March, 2018. Plaintiff asks the Court to
  5
      adjudicate all remedies through Monetary Relief Class.
  6
  7   California Subclass for The Monetary Relief Class. All persons residing in the
  8   state of California who purchased one or more water bottles sold by TRITON for
  9   their own use, and not for resale, since March, 2018, with label containing
 10   statements of “100% MOUNTAIN SPRING WATER” and
 11
            “SOURCES: SOUTHERN PACIFIC SPRING, RIVERSIDE
 12         COUNTY, CA; ARROWHEAD SPRINGS, SAN BERNARDINO
 13         COUNTY, CA; LONG POINT RANCH, RUNNING SPRING, CA;
            PALOMAR MOUNTAIN GRANITE SPRINGS (PMGS),
 14
            PALOMAR, CA; DEER CANYON SPRINGS, SAN BERNARDINO
 15         COUNTY, CA AND/OR COYOTE SPRINGS, INYO COUNTY,
            CA.”
 16
 17   Plaintiff asks the Court to adjudicate all remedies through Monetary Relief Class.
 18
 19   79.   Collectively, the Injunctive Relief Class, the Monetary Relief Class, and the
 20   California Subclass are the “Class.”
 21   80.   Plaintiff brings this class action on behalf of herself and all other similarly
 22   situated consumers who purchased the TRITON Product asserting claims under
 23   California’s Unfair Competition Law, Cal. Bus. & Prof. Code §17200, et seq.
 24   (“UCL” or “§17200”); the False Advertising Law, Cal. Bus & Prof. Code §17500,
 25   et seq. (“FAL” or “17500”); the Consumer Legal Remedies Act, Cal. Civ. Code
 26   §1750, et seq. (“CLRA”); Unjust Enrichment/Breach of Quasi Contract; the Civil
 27   RICO, 18 U.S.C. §1962(c); Fraudulent Misrepresentation; Negligent
 28
                                         22 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 23 of 61 Page ID #:23




  1
      Misrepresentation; Breach of Express Warranty under Cal. Com. Code §2313;
  2
      Breach of Implied Warranty of Merchantability under Cal. Com. Code §2314(1),
  3   for the following reasons:
  4
  5   (a) The proposed Class is so numerous and geographically dispersed throughout
  6   the United States that the joinder of all class members is impracticable. While
  7   Plaintiff does not know the exact number and identity of all Class Members,
  8   Plaintiff is informed and believes that there are thousands. The precise number of
  9   Class Members can be ascertained through discovery;
 10   (b) The disposition of Plaintiff’s and proposed Class Members’ claims in a class
 11   action will provide substantial benefits to both the parties and the Court;
 12   (c) The proposed Class is ascertainable and there is a well-defined community of
 13   interest in the questions of law or fact alleged herein since the rights of each
 14   proposed Class member were infringed or violated in the same fashion;
 15   (d) There are questions of law and fact common to the proposed class which
 16   predominate over any questions that may affect particular Class Members. Such

 17
      common questions of law and fact include, but are not limited to:

 18
            (1) Whether Defendants’ conduct was unlawful;
            (2) Whether Defendants’ conduct was unfair;
 19
            (3) Whether Defendants’ advertising and labeling is likely to mislead the
 20
            public;
 21
            (4) Whether Defendants’ conduct was misleading;
 22
            (5) Whether Defendants violated California’s Unfair Competition Law, Cal.
 23
            Bus. & Prof. Code §17200 (“UCL”);
 24
            (6) Whether Defendants violated California’s Consumers Legal Remedies
 25
            Act, Cal. Civ. Code §1750 (“CLRA”);
 26
            (7) Whether Defendants violated California’s False Advertising Law, Cal.
 27
            Civ. Code §17500 (“FAL”);
 28
                                         23 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 24 of 61 Page ID #:24




  1
            (8) Whether Defendants received purchase monies from Plaintiff and class
  2
            members that they unjustly received;
  3         (9) Whether Plaintiff and Class Members have been harmed and the proper
  4         measure of relief;
  5         (10) Whether Plaintiff and Class Members are entitled to an award of
  6         punitive damages, attorneys’ fees and expenses against Defendants; and
  7         (11) Whether, as a result of Defendants’ misconduct, Plaintiff and Class
  8         Members are entitled to equitable relief, and if so, the nature of such relief;
  9
 10   (e) Plaintiff's claims are typical of the claims of the members of the proposed
 11   Class. Plaintiff and Class Members have been injured by the same wrongful
 12   practices of Defendants. Plaintiff's claims arise from the same practices and
 13   conduct that give rise to the claims of all Class Members and are based on the
 14   same legal theories;
 15   (f) Plaintiff will fairly and adequately protect the interests of the Class in that she
 16   has no interests antagonistic to those of the other Class Members, and Plaintiff has

 17
      retained attorneys experienced in consumer class actions and complex litigation as

 18
      counsel;
      (g) A class action is superior to other available methods for the fair and efficient
 19
      adjudication of this controversy for at least the following reasons: (i) Given the
 20
      size of individual Class Member’s claims and the expense of litigating those
 21
      claims, few, if any, Class Members could afford to or would seek legal redress
 22
      individually for the wrongs Defendants committed against them and absent Class
 23
      Members have no substantial interest in individually controlling the prosecution of
 24
      individual actions; (ii) This action will promote an orderly and expeditious
 25
      administration and adjudication of the proposed Class claims, economies of time,
 26
      effort and resources will be fostered and uniformity of decisions will be insured;
 27

 28
                                          24 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 25 of 61 Page ID #:25




  1
      (iii) Without a class action, Class Members will continue to suffer damages, and
  2
      Defendants’ violations of law will proceed without remedy while Defendants
  3   continues to reap and retain the proceeds of their wrongful conduct; and (iv)
  4   Plaintiff knows of no difficulty that will be encountered in the management of this
  5   litigation which would preclude class certification.
  6   81.   Address information for the Class Members may be used for the purpose of
  7   providing notice of the class action.
  8   82.   Plaintiff seeks damages and equitable relief on behalf of the Class on
  9   grounds generally applicable to the entire proposed Class.
 10
 11   RICO ALLEGATIONS
 12
 13   83.   Plaintiff MIJEONG KIM and similarly situated class members (“Plaintiffs”)
 14   allege the existence of an associated-in-fact enterprise (“ENTERPRISE”) made up
 15   of all the Defendants.
 16
      84.    Plaintiffs allege that the ENTERPRISE is operated through multiple related
 17   predicate acts of mail fraud, and wire fraud over a period of several years.
 18   (EXHIBITs 002, 003, and 006.)
 19
      85.   Plaintiffs allege the predicate acts affected interstate commerce, and that the
 20
      Defendants' RICO violations were the but-for cause and proximate cause of their
 21
      concrete financial injuries.
 22
 23   86.   The common purpose of the ENTERPRISE was to defraud reasonable
 24   consumers purchasing the TRITON Product bottles with slogan “ARROWHEAD
 25   100% MOUNTAIN SPRING WATER” in the front label, and that each member
 26   benefited financially from doing so. (EXHIBITs 002, 003, and 006.)
 27

 28
                                         25 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 26 of 61 Page ID #:26




  1
      87.   Plaintiffs allege the ENTERPRISE has been in existence since at least
  2
      February 2018, and functioned as a continuing unit until at least the date the instant
  3   complaint was filed in March 2022.
  4
  5
      88.   Plaintiffs allege that Defendants worked together in an indispensable and
      integrated manner to carry out the fraudulent scheme: TRITON created the labels
  6
      containing the deceptive and misleading advertising of “ARROWHEAD 100%
  7
      MOUNTAIN SPRING WATER”; and TRITON assisted with advertising and
  8
      marketing; AMAZON assisted with advertising and marketing, received fees from
  9
      SHAHRBABKI, tracked shipments and to customers, and received returns.
 10
      (EXHIBITs 002, 003, and 006.)
 11
 12   89.   Plaintiffs allege Defendants coordinated activities were necessary to
 13   successfully complete the fraudulent consumer transactions and carry out the
 14   fraudulent scheme.
 15
      90.    Plaintiffs allege each member of the ENTERPRISE knew that the
 16
      ENTERPRISE extended beyond their individual roles and carried out their
 17
      activities and operations with the intent to further the fraudulent scheme.
 18
 19   91.   Plaintiffs allege that all of the Defendants’ activities were undertaken with

 20   common fraudulent intent: to mislead, deceive, and overcharge reasonable

 21
      consumers purchasing the TRITON Product bottles, on a repeated and continuous
      basis. (EXHIBITs 002, 003, 006, and 007.)
 22
 23   92.   There existed an association-in-fact enterprise among the Defendants.
 24
      93.   Plaintiffs allege the shipments of the TRITON Products to them constitute
 25
      predicate acts of mail fraud. (EXHIBIT 006.)
 26
 27

 28
                                        26 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 27 of 61 Page ID #:27




  1
      94.   Plaintiffs allege the placement of orders to purchase the TRITON Products
  2
      by Amazon.com website constitutes predicate acts of wire fraud. (EXHIBITs 002,
  3   003, and 006.)
  4
  5
      95.   The afore-mentioned allegations sufficiently and plausibly plead a pattern of
      racketeering activity by Defendants.
  6
  7   Defendants TRITON, AMAZON, SHAHRBABKI, and DOES 1-10
  8   96.   At all times relevant hereto, Defendants TRITON, AMAZON, and
  9   SHAHRBABKI conducted substantial business throughout the State of California,
 10   including marketing, and advertising in Los Angeles County and Orange County of
 11   California.
 12   97.   Defendants TRITON, AMAZON, and SHAHRBABKI form an “associated-
 13   in-fact enterprise” within the meaning of 18 U. S.C. § 1961(4), through which
 14   Defendants TRITON, AMAZON, and SHAHRBABKI conducted the pattern of
 15   racketeering activity described herein.
 16   98.   Throughout its existence, Defendants TRITON, AMAZON, AND
 17   SHAHRBABKI engaged in, and its activities affected interstate commerce because

 18   it involved commercial activities across state lines, including national marketing

 19
      campaigns of the TRITON, AMAZON, and SHAHRBABKI’S Products.
      99.   On information and belief, Defendants TRITON, AMAZON, and
 20
      SHAHRBABKI exercised substantial control over the ENTERPRISE, through
 21
      among other methods and means, the following: Creating and approving marketing
 22
      and advertising materials; Regularly reviewing financial records.
 23
      100. Defendants TRITON, AMAZON, and SHAHRBABKI was a knowing and
 24
      willing participant in the scheme, and reaped revenues and/or profits therefrom.
 25
      101. The ENTERPRISE has an ascertainable structure separate and apart from
 26
      the pattern of racketeering activity in which Defendants TRITON, AMAZON, and
 27

 28
                                        27 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 28 of 61 Page ID #:28




  1
      SHAHRBABKI has engaged. The ENTERPRISE is separate and distinct from
  2
      Defendants TRITON, AMAZON, and SHAHRBABKI.
  3
  4   Pattern of Racketeering Activity
  5   102. Defendants TRITON, AMAZON, and SHAHRBABKI, who are the
  6   constituents of ENTERPRISE, knowingly, willfully, and unlawfully conducted or
  7   participated, directly or indirectly, in the affairs of the ENTERPRISE through a
  8   pattern of racketeering activity within the meaning of 18 U.S.C. § 1961(1), 1961(5)
  9   and 1962(c). The racketeering activity was made possible by the regular and
 10   repeated use of the facilities, services, distribution of AMAZON, and employees of
 11   AMAZON.
 12   103. Defendants TRITON, and SHAHRBABKI committed multiple
 13   "Racketeering Acts," including aiding and abetting such acts.
 14   104. The Racketeering Acts were not isolated, but rather were related in that they
 15   had the same or similar purposes and results, participants, victims, and methods of
 16   commission. Further, the Racketeering Acts were continuous, occurring on a

 17
      regular (daily) basis throughout a time period beginning in 2018 and, upon

 18
      information and belief, continuing through March of 2022.
      105. Defendants TRITON, AMAZON, and SHAHRBABKI participated in the
 19
      operation and management of the ENTERPRISE.
 20
      106. In devising and executing the Scheme, Defendants TRITON, AMAZON,
 21
      and SHAHRBABKI committed acts constituting indictable offenses under 18
 22
      U.S.C. §§ 1341 and 1343, in that they devised and knowingly carried out a
 23
      material scheme or artifice to defraud or to obtain money by means of materially
 24
      false or fraudulent pretenses, representations, promises, or omissions of material
 25
      facts. For the purpose of executing the scheme, Defendants committed these
 26
      Racketeering Acts, intentionally and knowingly, with the specific intent to advance
 27
      the illegal scheme.
 28
                                        28 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 29 of 61 Page ID #:29




  1
      107. Defendants used mails and interstate wire communications to create and
  2
      perpetuate the scheme through virtually uniform misrepresentations, concealments
  3   and material omissions. The false statements and concealments in the
  4   advertisements have been viewed by the readers of Defendant AMAZON’s
  5   website.
  6
  7   CLASS ACTION ALLEGATIONS UNDER 18 U.S.C. § 1962(c)
  8   108. Plaintiff brings this class action on behalf of himself individually and all
  9   others similarly situated, pursuant to Federal Rule of Civil Procedure 23.
 10   109. The proposed Class consists of all persons who purchased the TRITON
 11   Products from Defendants TRITON, AMAZON, and SHAHRBABKI throughout
 12   the United States from March of 2018 to the present. Excluded from the Class are
 13   Defendants TRITON, AMAZON, and SHAHRBABKI and their affiliates,
 14   employees, officers and directors, persons or entities that distribute or sell the
 15   TRITON Products, the Judge(s) assigned to this case, and the attorneys of record in
 16   this case. Plaintiff reserves the right to amend the Class definition if discovery and

 17
      further investigation reveal that the Class should be expanded or otherwise

 18
      modified.
      110. This action is properly brought as a class action for violation of the
 19
      Racketeer Influenced and Corrupt Organization Act (“RICO Statute”) because:
 20
      (a) The proposed Class is so numerous and geographically dispersed throughout
 21
      the United States that the joinder of all Class Members is impracticable;
 22
      (b) The disposition of Plaintiff's and proposed Class Members' claims in a class
 23
      action will provide substantial benefits to both the parties and the Court;
 24
      (c) The proposed Class is ascertainable and there is a well-defined community of
 25
      interest in the questions of law or fact alleged herein since the rights of each
 26
      proposed Class Member were infringed or violated in the same fashion;
 27

 28
                                         29 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 30 of 61 Page ID #:30




  1
      (d) There are questions of law and fact common to the proposed Class which
  2
      predominate over any questions that may affect particular Class Members. Such
  3   common questions of law and fact include but are not limited to:
  4   (i) Whether Defendants TRITON, AMAZON, and SHAHRBABKI engaged in a
  5   fraudulent scheme;
  6   (ii) Whether Defendants TRITON, AMAZON, and SHAHRBABKI violated 18
  7   U.S.C. § 1962;
  8   (iii) Whether Plaintiff and Class Members have been harmed and the proper
  9   measure of relief;
 10   (iv) Whether Plaintiff and Class Members are entitled to an award of treble,
 11   punitive damages, attorneys' fees and expenses; and
 12   (v) Whether, Plaintiff and Class Members are entitled to equitable relief, and if so,
 13   the nature of such relief.
 14   (e) Plaintiff's claims are typical of the claims of the members of the proposed
 15   Class. Plaintiff and Class Members have been injured by the same wrongful
 16   practices of Defendants. Plaintiff's claims arise from the same practices and

 17
      conduct that give rise to the claims of all Class Members and are based on the

 18
      same legal theories;
      (f) Plaintiff will fairly and adequately protect the interests of the Class in that she
 19
      has no interests antagonistic to those of the other Class Members, and Plaintiff has
 20
      retained attorneys experienced in consumer class actions and complex litigation as
 21
      counsel;
 22
      (g) A class action is superior to other available methods for the fair and efficient
 23
      adjudication of this controversy for at least the following reasons: (i) Given the
 24
      size of individual Class Member's claims and the expense of litigating those
 25
      claims, few, if any, Class Members could afford to or would seek legal redress
 26
      individually for the wrongs Defendants committed against them and absent Class
 27
      Members have no substantial interest in individually controlling the prosecution of
 28
                                          30 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 31 of 61 Page ID #:31




  1
      individual actions; (ii) This action will promote an orderly and expeditious
  2
      administration and adjudication of the proposed Class claims, economies of time,
  3   effort and resources will be fostered and uniformity of decisions will be insured;
  4   (iii) Without a class action, Class Members will continue to suffer damages, and
  5   Defendants’ violations of law will proceed without remedy while Defendants
  6   continues to reap and retain the proceeds of their wrongful conduct; and (iv)
  7   Plaintiff knows of no difficulty that will be encountered in the management of this
  8   litigation which would preclude class certification.
  9
 10   CLASS ACTION ALLEGATIONS UNDER THE CALIFORNIA STATUTES
 11   111. Pursuant to Rule 23(a) and (b)(3), Plaintiff brings this action individually
 12   and on behalf of a proposed class (the “Monetary Relief Class”) defined as
 13   follows:
 14   The Monetary Relief Class. All persons residing in the United States and its
 15   territories who purchased one or more of the TRITON Products for their own use,
 16   and not for resale, since March 1, 2018, by using mail and/or wire. Plaintiff asks

 17
      the Court to adjudicate all remedies through Monetary Relief Class.

 18
      112. Additionally, pursuant to Rule 23(a) and (b)(3), Plaintiff brings this action
      individually and on behalf of a proposed class (the “California Subclass”) defined
 19
      as follows:
 20
      The California Subclass. All persons residing in the state of California who
 21
      purchased one or more of the TRITON’s Products for their own use, and not for
 22
      resale, since March 1, 2018, by using mail and/or wire. Plaintiff asks the Court to
 23
      adjudicate all remedies through the California Subclass.
 24
      113. Collectively, the Monetary Relief Class, and the California Subclass are the
 25
      “Class.”
 26
      114. This action is properly brought as a class action for violation of 18 U.S.C.
 27
      §1962(c), for the following reasons:
 28
                                        31 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 32 of 61 Page ID #:32




  1
      (a) the proposed Class is so numerous and geographically dispersed throughout the
  2
      United States that the joinder of all class members is impracticable. While
  3   Plaintiff does not know the exact number and identity of all Class Members,
  4   Plaintiff is informed and believes that there are thousands. The precise number of
  5   Class Members can be ascertained through discovery; (b) the disposition of
  6   Plaintiff’s and proposed Class Members’ claims in a class action will provide
  7   substantial benefits to both the parties and the Court; (c) the proposed Class is
  8   ascertainable and there is a well-defined community of interest in the questions of
  9   law or fact alleged herein since the rights of each proposed Class member were
 10   infringed or violated in the same fashion; (d) there are questions of law and fact
 11   common to the proposed class which predominate over any questions that may
 12   affect particular Class Members. Such common questions of law and fact include,
 13   but are not limited to:
 14   (1) Whether Defendants’ conduct was unlawful, unfair or fraudulent;
 15   (2) Whether Defendants’ advertising and labeling is likely to deceive the public;
 16   (3) Whether Defendants’ conduct was false, misleading or likely to deceive;

 17
      (4) Whether Defendants violated California’s Unfair Competition Law, Cal. Bus.

 18
      & Prof. Code §17200 (“UCL”);
      (5) Whether Defendants violated California’s Consumers Legal Remedies Act,
 19
      Cal. Civ. Code §1750 (“CLRA”);
 20
      (6) Whether Defendants violated California’s False Advertising Law, Cal. Civ.
 21
      Code §17500 (“FAL”);
 22
      (7) Whether Defendants received purchase monies from Plaintiff and Class
 23
      members that they unjustly received;
 24
      (8) Whether Plaintiff and Class Members have been harmed and the proper
 25
      measure of relief;
 26
      (9) Whether Plaintiff and Class Members are entitled to an award of punitive
 27
      damages, attorneys’ fees and expenses against Defendants; and
 28
                                         32 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 33 of 61 Page ID #:33




  1
      (10) Whether, as a result of Defendants’ misconduct, Plaintiff and Class Members
  2
      are entitled to equitable relief, and if so, the nature of such relief;
  3   (e) Plaintiff's claims are typical of the claims of the members of the proposed
  4   Class. Plaintiff and Class Members have been injured by the same wrongful
  5   practices of Defendants. Plaintiff's claims arise from the same practices and
  6   conduct that give rise to the claims of all Class Members and are based on the
  7   same legal theories;
  8   (f) Plaintiff will fairly and adequately protect the interests of the Class in that she
  9   has no interests antagonistic to those of the other Class Members, and Plaintiff has
 10   retained attorneys experienced in consumer class actions and complex litigation as
 11   counsel;
 12   (g) A class action is superior to other available methods for the fair and efficient
 13   adjudication of this controversy for at least the following reasons: (i) Given the
 14   size of individual Class Member's claims and the expense of litigating those
 15   claims, few, if any, Class Members could afford to or would seek legal redress
 16   individually for the wrongs Defendants committed against them and absent Class

 17
      Members have no substantial interest in individually controlling the prosecution of

 18
      individual actions; (ii) This action will promote an orderly and expeditious
      administration and adjudication of the proposed Class claims, economies of time,
 19
      effort and resources will be fostered and uniformity of decisions will be insured;
 20
      (iii) Without a class action, Class Members will continue to suffer damages, and
 21
      Defendants’ violations of law will proceed without remedy while Defendants
 22
      continues to reap and retain the proceeds of their wrongful conduct; and (iv)
 23
      Plaintiff knows of no difficulty that will be encountered in the management of this
 24
      litigation which would preclude class certification.
 25
      115. Defendants and their agents had, or have access to, address information for
 26
      the Class Members, which may be used for the purpose of providing notice of the
 27
      class action.
 28
                                          33 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 34 of 61 Page ID #:34




  1
      116. Plaintiff seeks damages and equitable relief on behalf of the Class on
  2
      grounds generally applicable to the entire proposed Class.
  3
  4                                   First Cause of Action
  5     Violation of California’s Unfair Competition Law, California Business and
  6     Professions Code § 17200 et seq. Unlawful and Fraudulent Conduct Prong
  7      (By Plaintiff MINEONG KIM, on Behalf of the Class against Defendants
  8                      TRITON, AMAZON, and SHAHRBABKI.)
  9
 10   117. Plaintiff re-alleges and incorporates by reference the above allegations
 11   contained in the paragraphs above as if fully set forth herein.
 12   118. Defendants violated Cal. Bus. & Prof. Code §17200’s prohibition against
 13   engaging in an “unlawful” business act or practice by selling the TRITON Product.
 14   119. Defendants misleadingly advertises the TRITON Product in its label and
 15   websites showing the photo of the TRITON Product bottles. Defendants violated
 16   Cal. Bus. & Prof. Code §17200’s prohibition against engaging in an “unlawful”

 17
      business act or practice by, inter alia, making the material misrepresentations

 18
      regarding the TRITON Products under 1750 et seq. (the CLRA) and Cal. Bus. &
      Prof. Code §17500 (FAL).
 19
      120. Plaintiff seeks equitable relief on behalf of herself and the Class, which
 20
      relief includes, but is not limited to, the following: restitution; refunding Plaintiff
 21
      and class members the full amount paid for the TRITON Product; injunctive relief
 22
      for an order enjoining Defendants from falsely marketing and advertising the
 23
      TRITON Product; punitive damages; costs and expenses, including attorneys’ and
 24
      expert fees; interest; and any additional relief that this Court determines to be
 25
      necessary or appropriate to provide complete relief to Plaintiff and the Class.
 26
      Plaintiff seeks public injunctive relief that has the primary purpose and effect of
 27
      prohibiting unlawful acts that threaten future injury to the general public. Class
 28
                                          34 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 35 of 61 Page ID #:35




  1
      certification is not required for “public” injunctive relief under the UCL, FAL, and
  2
      CLRA. (see McGill v. Citibank, N.A., 2 Cal. 5th 945 (2017).)
  3
  4                                 Second Cause of Action
  5     Violation of California’s Unfair Competition Law, California Business and
  6               Professions Code § 17200 et seq. Unfair Conduct Prongs
  7      (By Plaintiff MIJEONG KIM, on Behalf of the Class against Defendants
  8                      TRITON, AMAZON, and SHAHRBABKI.)
  9
 10   121. Plaintiff re-alleges and incorporates by reference the above allegations
 11   contained in the paragraphs above as if fully set forth herein.
 12   122. A type of “bait and switch” advertising was used by Defendants to sell
 13   TRITON Product bottles with the slogan of “Arrowhead 100% Mountain Spring
 14   Water”
 15   123. The foregoing conduct also constitutes “unfair” business acts and practices
 16   within the meaning of Cal. Bus. & Prof. Code §17200. Defendants’ practices

 17
      offend public policy and are unethical, oppressive, unscrupulous and violate the

 18
      laws stated. Defendants’ conduct caused and continues to cause substantial injury
      to Plaintiff and Class Members.
 19
      124. Defendants’ labeling and advertising of the TRITON Product is likely to
 20
      mislead reasonable consumers that the location of the spring is the Arrowhead
 21
      Mountain.
 22
      125. Defendants either knew or reasonably should have known that the claims on
 23
      the labels of the TRITON Product were likely to mislead reasonable consumers.
 24
      126. In accordance with California Business & Professions Code section 17203,
 25
      Plaintiff seeks an order enjoining Defendants from continuing to sell the TRITON
 26
      Product through unlawful, and unfair acts and practices and to commence a
 27
      corrective advertising and labeling campaign.
 28
                                         35 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 36 of 61 Page ID #:36




  1
      127. Plaintiff seeks equitable relief on behalf of herself and the Class, which
  2
      relief includes, but is not limited to, the following: restitution; refunding Plaintiff
  3   and class members the full amount paid for the TRITON Product; injunctive relief
  4   for an order enjoining Defendants from falsely marketing and advertising the
  5   TRITON Product; punitive damages; costs and expenses, including attorneys’ and
  6   expert fees; interest; and any additional relief that this Court determines to be
  7   necessary or appropriate to provide complete relief to Plaintiff and the Class.
  8   Plaintiff seeks public injunctive relief that has the primary purpose and effect of
  9   prohibiting unlawful acts that threaten future injury to the general public. Class
 10   certification is not required for “public” injunctive relief under the UCL, FAL, and
 11   CLRA. (see McGill v. Citibank, N.A., 2 Cal. 5th 945 (2017).)
 12
                                      Third Cause of Action
 13
       Violation of California’s False and Misleading Advertising Law, California
 14                     Business and Professions Code § 17500 et seq.
 15      (By Plaintiff MIJEONG KIM, on Behalf of the Class against Defendants
 16                      TRITON, AMAZON, and SHAHRBABKI.)
 17
 18   128. Plaintiff re-alleges and incorporates by reference the above allegations
 19   contained in the paragraphs above as if fully set forth herein.
 20   129. California Business & Professions Code §17500 prohibits various deceptive
 21   practices in connection with the dissemination in any manner of representations
 22   which are likely to deceive and/or mislead members of the public to purchase
 23   products and services such as the TRITON Product.
 24   130. A type of “bait and switch” advertising was used by Defendants to sell water
 25   bottles with label containing “Arrowhead 100% Mountain Spring Water.”
 26   131. Defendants disseminated, through common advertising, misleading
 27   statements about the TRITON Product and Defendants knew or should have

 28
      known that the TRITON Product’s label did not conform to the advertisements or
                                          36 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 37 of 61 Page ID #:37




  1
      representations regarding the TRITON Product. Plaintiff and the Class relied upon
  2
      the advertisements and misrepresentations to their detriment.
  3   132. As alleged herein, Defendants, in its labeling and advertising of the TRITON
  4   Product, makes misleading advertising claim, as it mislead consumers that the
  5   location of the spring is the Arrowhead Mountain.
  6   133. In reliance on these misleading advertising claims, Plaintiff and the members
  7   of the California Subclass purchased and used the TRITON Product bottles without
  8   the knowledge that the location of the spring may not be the Arrowhead Mountain.
  9   134. Defendants knew or should have known that the labeling and marketing of
 10   the TRITON Product was likely to mislead consumers.
 11   135. Plaintiff seeks equitable relief on behalf of herself and the Class, which
 12   relief includes, but is not limited to, the following: restitution; refunding Plaintiff
 13   and class members the full amount paid for the TRITON Product; injunctive relief
 14   for an order enjoining Defendants from falsely marketing and advertising the
 15   TRITON Product; punitive damages; costs and expenses, including attorneys’ and
 16   expert fees; interest; and any additional relief that this Court determines to be

 17
      necessary or appropriate to provide complete relief to Plaintiff and the Class.

 18
      Plaintiff seeks public injunctive relief that has the primary purpose and effect of
      prohibiting unlawful acts that threaten future injury to the general public. Class
 19
      certification is not required for “public” injunctive relief under the UCL, FAL, and
 20
      CLRA. (see McGill v. Citibank, N.A., 2 Cal. 5th 945 (2017).)
 21
 22
                                     Fourth Cause of Action
 23
        Violation of California’s Consumers Legal Remedies Act, California Civil
 24
                                        Code § 1750 et seq.
 25
         (By Plaintiff MIJEONG KIM, on Behalf of the Class against Defendants
 26
                         TRITON, AMAZON, and SHAHRBABKI.)
 27

 28
                                          37 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 38 of 61 Page ID #:38




  1
      136. Plaintiff re-alleges and incorporates by reference the above allegations
  2
      contained in the paragraphs above as if fully set forth herein.
  3   137. This cause of action arises under the Consumers Legal Remedies Act
  4   (“CLRA”), Cal. Civ. Code §1750, et seq. Plaintiff is a consumer as defined by
  5   Cal. Civ. Code §1761(d). The TRITON Product constitutes “product” as defined
  6   by Cal. Civ. Code §1761(a) and (b). At all times relevant hereto, Defendants
  7   constituted “persons” as that term is defined in Cal. Civ. Code §1761(c), and
  8   Plaintiff’s and Class Members’ purchases of the TRITON Product constitute
  9   “transactions,” as that term is defined in Cal. Civ. Code §1761(e).
 10   138. Defendants violated and continue to violate the CLRA by engaging in the
 11   following deceptive practices specifically proscribed by Cal. Civ. Code §1770(a),
 12   in transactions with Plaintiff and Class Members that were intended to result or
 13   which resulted in the sale of the TRITON Product to consumers:
 14   (a) In violation of Cal. Civ. Code §1770(a)(2): Misrepresenting the source,
 15   sponsorship, approval, or certification of goods or services;
 16   (b) In violation of Cal. Civ. Code §1770(a)(4): Using deceptive representations or

 17
      designations of geographic origin in connection with goods or services.

 18
      (c) In violation of Cal. Civ. Code §1770(a)(5), Defendants’ acts and practices
      constitute misrepresentations that the TRITON Product in question have
 19
      characteristics, benefits or uses which they do not have;
 20
      (d) In violation of Cal. Civ. Code §1770(a)(7), Defendants misrepresented that the
 21
      TRITON Product are of particular standard, quality and/or grade, when they are of
 22
      another; and
 23
      (e) In violation of Cal. Civ. Code §1770(a)(9), Defendants advertised the TRITON
 24
      Product with the intent not to sell them as advertised or represented.
 25
      (f) In violation of Cal. Civ. Code §1770(a)(16), Defendants represented that “the
 26
      subject of a transaction has been supplied in accordance with a previous
 27
      representation when it has not.”
 28
                                         38 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 39 of 61 Page ID #:39




  1
      139. Defendants’ representations are misleading and in violation of the CLRA.
  2
      140. In addition, pursuant to Civil Code §1780(a)(2), Plaintiff is entitled to, and
  3   therefore seek, a Court order enjoining the above-described wrongful acts and
  4   practices that violate Cal. Civ. Code §1770:
  5   (1) enjoining Defendants from continuing to engage in the deceptive practices
  6   described above;
  7   (2) requiring Defendants to provide public notice of the true nature of the TRITON
  8   Product; and
  9   (3) enjoining Defendants from such deceptive business practices in the future.
 10         Plaintiff seeks public injunctive relief that has the primary purpose and
 11   effect of prohibiting unlawful acts that threaten future injury to the general public.
 12   Class certification is not required for “public” injunctive relief under the UCL,
 13   FAL, and CLRA. (see McGill v. Citibank, N.A., 2 Cal. 5th 945 (2017).)
 14   141. Plaintiff and the Class are also entitled to recover attorneys’ fees, costs,
 15   expenses and disbursements pursuant to Cal. Civ. Code §§1780 and 1781.
 16   142. Pursuant to section 1782 of the CLRA, Plaintiff is hereby notifying

 17
      Defendants in writing of its particular violations of section 1770 of the CLRA and

 18
      is demanding, among other actions, that Defendants cease marketing the TRITON
      Product as set forth in detail above and correct, repair, replace, or otherwise rectify
 19
      the TRITON Product that are in violation of section 1770 as set forth in detail
 20
      above. (EXHIBIT 008.) If Defendants fails to respond to Plaintiff’s demand
 21
      within 30 days of this notice, pursuant to section 1782 of the CLRA, Plaintiff will
 22
      amend this Class Action Complaint to request, in addition to the above relief,
 23
      statutory damages, actual damages, punitive damages, interest, and attorneys’ fees,
 24
      pursuant to sections 1780 and 1781.
 25
      143. Plaintiff contend that the deception is the false and misleading label, and the
 26
      injury is the purchase price. (Small v. Lorillard Tobacco Co., Inc., 94 N.Y.2d 43,
 27
      56 n. 5, 698 N.Y.S.2d 615, 720 N.E.2d 892 [“Plaintiff might have a claim where a
 28
                                         39 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 40 of 61 Page ID #:40




  1
      distributor asserts that its bottled water is from a pure and pristine mountain stream
  2
      while in reality, it was only tap water.”].)
  3
  4                       Fifth Cause of Action: Unjust Enrichment
  5      (By Plaintiff MIJEONG KIM, on Behalf of the Class against Defendants
  6                      TRITON, AMAZON, and SHAHRBABKI.)
  7
  8   144. Plaintiff re-alleges and incorporates by reference the above allegations
  9   contained in the paragraphs above as if fully set forth herein.
 10   145. Plaintiff brings this claim for unjust enrichment on behalf of the Class.
 11   146. As a direct and proximate result of Defendants’ acts set forth herein,
 12   Defendants has been unjustly enriched.
 13   147. As a result of Defendants’ misleading labeling, advertising, marketing, and
 14   sales of the TRITON Product, Defendants unjustly enriched itself at the expense of
 15   Plaintiff and the Class members, through Plaintiff’s and the Class members’
 16   payment of the purchase price for the products.

 17
      148. Under the circumstances, it would be against equity and good conscience to

 18
      permit Defendants to retain the ill-gotten benefits it received from Plaintiff and the
      Class members, in light of the fact that the TRITON Product that Plaintiff and the
 19
      Class members purchased were not what Defendants purported them to be. Thus,
 20
      it would be unjust or inequitable for Defendants to retain the benefit without
 21
      restitution to Plaintiff and the Class members for the monies paid to Defendants for
 22
      the TRITON Product.
 23
      149. Plaintiff and the Class members seek restitution of, disgorgement of, and/or
 24
      the imposition of a constructive trust upon all profits, benefits, and compensation
 25
      Defendants obtained from its improper conduct alleged herein.
 26
      150. Plaintiff contend that the deception is the false and misleading label, and the
 27
      injury is the purchase price. (Small v. Lorillard Tobacco Co., Inc., 94 N.Y.2d 43,
 28
                                          40 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 41 of 61 Page ID #:41




  1
      56 n. 5, 698 N.Y.S.2d 615, 720 N.E.2d 892 [“[P]laintiff might have a claim where
  2
      a distributor asserts that its bottled water is from a pure and pristine mountain
  3   stream while in reality, it was only tap water.”].)
  4
  5                                   Sixth Cause of Action
  6     Violations of the Racketeer Influenced and Corrupt Organizations Act, 18
  7                                      U.S.C. §1962(c)
  8      (By Plaintiff MIJEONG KIM, on Behalf of the Class, against Defendants
  9                      TRITON, AMAZON, and SHAHRBABKI.)
 10
 11   151. Plaintiff re-alleges and incorporates by reference the above allegations
 12   contained in the paragraphs above as if fully set forth herein.
 13   152. This claim arises under 18 U.S.C. § 1962(c), which provides in relevant part:
 14   (c) It shall be unlawful for any person employed by or associated with any
 15   enterprise engaged in, or the activities of which affect, interstate or foreign
 16   commerce, to conduct or participate, directly or indirectly, in the conduct of such

 17
      enterprise's affairs through a pattern of racketeering activity.

 18
      153. At all relevant times, Defendants TRITON, AMAZON, and SHAHRBABKI
      were “persons” within the meaning of 18 U.S.C. §1961(3), because they were
 19
      “capable of holding a legal or beneficial interest in property.” Defendants
 20
      TRITON, AMAZON, and SHAHRBABKI were the constituents of the
 21
      ENTERPRISE and conducted and participated in that ENTERPRISE’s affairs
 22
      through a pattern of racketeering activity, as defined by 18 U.S.C. § 1961(5),
 23
      consisting of numerous and repeated uses of the mails and interstate wire
 24
      communications to execute a scheme to defraud in violation of 18 U.S.C. §
 25
      1962(c).
 26
      154. The ENTERPISE was created and/or used as a tool to carry out the scheme
 27
      and pattern of racketeering activity.
 28
                                         41 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 42 of 61 Page ID #:42




  1
      155. Defendants TRITON, AMAZON, and SHAHRBABKI have committed or
  2
      aided and abetted the commission of at least two acts of racketeering activity, i.e.,
  3   indictable violations of 18 U.S.C. §§ 1341 and 1343, within the past ten years. The
  4   multiple acts of racketeering activity that they committed and/or conspired to, or
  5   aided and abetted in the commission of, were related to each other, pose a threat of
  6   continued racketeering activity, and therefore constitute a “pattern of racketeering
  7   activity.”
  8   156. Defendants TRITON, AMAZON, and SHAHRBABKI’s predicate acts of
  9   racketeering within the meaning of 18 U.S.C. §1961(1) include: (a) Mail Fraud:
 10   Defendants TRITON, AMAZON, and SHAHRBABKI violated 18 U.S.C. § 1341,
 11   by sending or receiving, or causing to be sent or received, materials via U.S. mail
 12   or commercial interstate carriers for the purpose of executing the Scheme, which
 13   amount to a material scheme to defraud and obtain money on false pretenses,
 14   misrepresentations, promises, and/or omissions; and (b) Wire Fraud: Defendants
 15   TRITON, AMAZON, and SHAHRBABKI violated 18 U.S.C. § 1343, by
 16   transmitting and receiving, or causing to be transmitted or received, materials by

 17
      wire for the purpose of executing the Scheme, which amounts to a material scheme

 18
      to defraud and obtain money on false pretenses, misrepresentations, promises,
      and/or omissions.
 19
      157. Defendants TRITON, AMAZON, and SHAHRBABKI knowingly and
 20
      intentionally made these misrepresentations, acts of concealment and failures to
 21
      disclose. Defendants TRITON, AMAZON, and SHAHRBABKI either knew or
 22
      recklessly disregarded that these were material misrepresentations and omissions.
 23
      158. Defendants TRITON, AMAZON, and SHAHRBABKI obtained money and
 24
      property belonging to Plaintiff and the Class as a result of these violations.
 25
      Plaintiff and other Class Members have been injured in their business or property
 26
      by Defendants TRITON, AMAZON, and SHAHRBABKI’s overt acts of mail and
 27
      wire fraud.
 28
                                         42 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 43 of 61 Page ID #:43




  1
      159. Plaintiff and the Class have been injured in their property by reason of
  2
      Defendants TRITON, AMAZON, and SHAHRBABKI’s violations of 18 U.S.C. §
  3   1962, including the price paid for the TRITON Products which collectively amount
  4   to millions of dollars, and plus interest. In the absence of Defendants TRITON,
  5   AMAZON, and SHAHRBABKI’s violations of 18 U.S.C. § 1962, Plaintiff and the
  6   Class would not have incurred these losses.
  7   160. Plaintiff and the Class’s injuries were directly and proximately caused by
  8   Defendants TRITON, AMAZON, and SHAHRBABKI’s racketeering activity.
  9   161. Defendants TRITON, AMAZON, and SHAHRBABKI knew and intended
 10   that Plaintiff and the Class would rely on the scheme's fraudulent representations
 11   and omissions. Defendants TRITON, AMAZON, and SHAHRBABKI knew and
 12   intended Plaintiff and the Class would buy the TRITON Products as a result of
 13   same.
 14   162. Under the provisions of 18 U.S.C. § 1964(c), Plaintiff is entitled to bring this
 15   action and to recover their treble damages, the costs of bringing this suit and
 16   reasonable attorneys’ fees.

 17
      163. Defendants TRITON, AMAZON, and SHAHRBABKI is accordingly liable

 18
      to Plaintiff and the Class for three times their actual damages as proved at trial plus
      interest and attorneys’ fees.
 19
      164. The Supreme Court explained that the civil RICO statute has no reliance
 20
      requirement on its face, and a person may be injured "by reason of" another
 21
      person's fraud even if the injured party did not rely on any misrepresentation. (128
 22
      S. Ct. 2131.)
 23
 24
                Seventh Cause of Action for Fraudulent Misrepresentation
 25
         (By Plaintiff MIJEONG KIM, on Behalf of the Class, against Defendants
 26
                         TRITON, AMAZON, and SHAHRBABKI.)
 27

 28
                                         43 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 44 of 61 Page ID #:44




  1
      165. Plaintiff re-alleges and incorporates by reference the allegations contained in
  2
      the paragraphs above as if fully set forth herein.
  3   166. Defendants made representations to Plaintiff and the Classes in advertising
  4   the TRITON Products, that their products contain 100% spring water from the
  5   springs in Arrowhead Mountain. Defendants made representations in their
  6   advertisements.
  7   167. As heretofore alleged, the representations made by Defendants were in fact
  8   false.
  9   168. When Defendants made these misrepresentations, it knew them to be false
 10   and made these misrepresentations with the intention to deceive and defraud
 11   Plaintiff and members of the Classes and to induce Plaintiff and members of the
 12   Classes to act in reliance on these misrepresentations in the manner heretofore and
 13   hereafter alleged, or with the expectation that Plaintiff and members of the Classes
 14   would so act. Plaintiff and members of the Classes, at the time these
 15   representations were made by Defendants, were ignorant of the falsity of
 16   Defendants’ representations and believed them to be true. In reliance on these

 17
      representations, Plaintiff and members of the Classes were induced to and did

 18
      purchase the TRITON Products. Plaintiff’s reliance on Defendants’
      representations was reasonable in light of the knowledge and experience of
 19
      Plaintiff and members of the Classes.
 20
      169. As a proximate result of the fraudulent conduct of Defendants in this
 21
      complaint, Plaintiff and members of the Classes were induced to spend money in
 22
      the purchase of the TRITON Products without knowing the true nature of the water
 23
      of the TRITON Products.
 24
      170. As a consequence of Defendants’ fraudulent misrepresentations, Plaintiff
 25
      and the members of the Classes have been injured and are entitled to damages.
 26
      171. The conduct of Defendants was an intentional misrepresentation, deceit, or
 27
      concealment of a material fact known to Defendants with the intention on the part
 28
                                         44 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 45 of 61 Page ID #:45




  1
      of Defendants of thereby depriving Plaintiff and members of the Classes of
  2
      property or legal rights causing injury. Defendants’ conduct constitutes despicable
  3   conduct which was carried on by Defendants with a willful and conscious
  4   disregard of the rights of Plaintiff and members of the Classes, so as to justify an
  5   award of exemplary or punitive damages.
  6   172. Plaintiff is entitled to an award of attorneys’ fees and costs in prosecuting
  7   these actions against Defendants under California’s Code of Civil Procedure §
  8   1021.5 and other applicable law in part because:
  9   (a) a successful outcome in these actions will result in the enforcement of
 10   important rights affecting the public interest by maintaining the integrity of
 11   representations made concerning the TRITON Products;
 12   (b) these actions will result in a significant benefit to the general public by bringing
 13   to a halt unlawful, unfair, deceptive, and misleading activity and by causing the
 14   return of ill-gotten gains obtained by Defendants;
 15   (c) unless these actions are prosecuted, members of the general public will not
 16   recover those monies, and many consumers would not be aware that they were

 17
      victimized by Defendants’ wrongful acts and practices;

 18
      (d) unless these actions are prosecuted, Defendants will continue to mislead
      consumers about the true nature of the water of the TRITON Products; and
 19
      (e) an award of attorneys’ fees and costs is necessary for the prosecution of these
 20
      actions and will result in a benefit to each members of the Classes, and consumers
 21
      in general.
 22
 23
                    Eighth Cause of Action for Negligent Misrepresentation
 24
         (By Plaintiff MIJEONG KIM, on Behalf of the Class, against Defendants
 25
                         TRITON, AMAZON, and SHAHRBABKI.)
 26
 27

 28
                                         45 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 46 of 61 Page ID #:46




  1
      173. Plaintiff re-alleges and incorporates by reference the allegations contained in
  2
      the paragraphs above as if fully set forth herein.
  3   174. As heretofore alleged, Defendants made representations to Plaintiff and the
  4   Classes in advertising the TRITON Products that its products contain 100%
  5   Arrowhead Mountain Spring Water.
  6   175. As heretofore alleged, the representations made by Defendants were in fact
  7   false. The true facts as heretofore alleged were, inter alia, that the TRITON,
  8   Products does not contain not the water exclusively from the springs of Arrowhead
  9   Mountain.
 10   176. When Defendants made these misrepresentations, Defendants had no
 11   reasonable ground for believing them to be true as set forth herein.
 12   177. Defendants made these representations with the intention of inducing
 13   Plaintiff and members of the Classes to act in reliance on these representations in
 14   the manner hereafter alleged, or with the expectation that they would so act.
 15   178. Plaintiff and members of the Classes, at the time these representations were
 16   made by Defendants, were ignorant of the falsity of Defendants’ representations

 17
      and believed them to be true. In reliance on these representations, Plaintiff and

 18
      members of the Classes were induced to and did purchase the TRITON Products.
      Plaintiff’s reliance on Defendants’ representations was reasonable in light of the
 19
      knowledge and experience of Plaintiff and members of the Classes.
 20
      179. As a proximate result of the fraudulent conduct of Defendants, Plaintiff and
 21
      members of the Classes were induced to spend money in the purchase of the
 22
      TRITON Products without knowing the true nature of the water in the TRITON
 23
      Products.
 24
      180. As a consequence of Defendants’ negligent misrepresentations, Plaintiff and
 25
      the members of the Classes have been injured and are entitled to damages.
 26
 27
                    Ninth Cause of Action: Breach of Express Warranty
 28
                                         46 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 47 of 61 Page ID #:47




  1
                                  (CAL.COM.CODE § 2313.)
  2
         (By Plaintiff MIJEONG KIM, on Behalf of the Class, against TRITON)
  3
  4   181. Plaintiff re-alleges and incorporates by reference the above allegations
  5   contained in the paragraphs above as if fully set forth herein.
  6   182. Defendant TRITON made an affirmation of fact or promise or provided a
  7   description of its TRITON Products by including the icon “ARROWHEAD 100%
  8   MOUNTAIN SPRING WATER” on the front label of TRITON Products bottles.
  9   183. The promise or description of “ARROWHEAD 100% MOUNTAIN
 10   SPRING WATER” formed part of the basis of the bargain.
 11   184. Defendant TRITON sold the TRITON Products to Plaintiff and the Class
 12   Members.
 13   185. Defendant TRITON breached the express warranty in that the TRITON
 14   Products contain 100% spring water from Arrowhead Mountain.
 15   186. Plaintiff and the Class members did not receive the TRITON Products as
 16   warranted by defendant TRITON.

 17
      187. The breach caused economic injury to Plaintiff and the Class members in an

 18
      amount to be determined at trial.

 19
                                     Tenth Cause of Action
 20
                      Breach of Implied Warranty of Merchantability
 21
                                Under Cal. Com. Code 2314(1)
 22
         (By Plaintiff MIJEONG KIM, on Behalf of the Class, against TRITON,
 23
                               AMAZON, and SHAHRBABKI.)
 24
 25
      188. Plaintiff incorporates by reference all preceding paragraphs.
 26
      189. The Product was manufactured, labeled and sold by defendant TRITON or
 27
      at its express directions and instructions, and warranted to plaintiff and class
 28
                                          47 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 48 of 61 Page ID #:48




  1
      members that they possessed substantive, quality, compositional and/or
  2
      environmental which they did not.
  3   190. Defendant had a duty to disclose and/or provide non-deceptive descriptions
  4   and marketing of the Product.
  5   191. This duty is based, in part, on Defendants’ position as one of the most
  6   recognized companies in the nation in this sector.
  7   192. The TRITON Product did not conform to its affirmations of fact and
  8   promises due to Defendants’ actions and were not merchantable.
  9   193. Plaintiff and class members would not have purchased the Product or paid as
 10   much if the true facts had been known, suffering damages.
 11
 12   PRAYER FOR RELIEF
 13         WHEREFORE, Plaintiff prays this Court enter a judgment against
 14   Defendants that:
 15   1.    This action be certified and maintained as a class action under Rule (b)(3) of
 16   the Federal Rules of Civil Procedure and certify the proposed Class as defined,

 17
      appointing Plaintiff as representatives of the Class, and appointing the attorneys

 18
      and law firms representing Plaintiff as counsel for the Class;
      2.    Awards compensatory, statutory and/or punitive damages, and treble.
 19
      3.    Awards Plaintiff and Class Members the costs of this action, including
 20
      reasonable attorneys’ fees and expenses and expert fees;
 21
      4.    Orders Defendants to reimburse to Plaintiff and all Class Members the
 22
      purchase price paid for the TRITON Products;
 23
      5.    Awards equitable monetary relief, including restitution, and the imposition
 24
      of a constructive trust upon, or otherwise restricting the proceeds of Defendants’
 25
      ill-gotten gains, to ensure that Plaintiff and Class Members have an effective
 26
      remedy;
 27
      6.    Awards pre-judgment and post-judgment interest at the legal rate; and
 28
                                        48 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 49 of 61 Page ID #:49




  1
      7.    Such further legal and equitable relief as this Court may deem just and
  2
      proper.
  3
  4   JURY TRIAL REQUESTED
  5         Plaintiff demands a trial by jury on all issues so triable.
  6
  7   DATED: March 23, 2022                          LAW OFFICE OF JUAN HONG
  8                                                  /s/ Juan Hong
  9                                                  JUAN HONG
                                                     4199 Campus Drive Suite 550
 10                                                  Irvine, CA 92612
 11                                                  Telephone: (949) 334-7710
                                                     Fax: (949) 335-6647
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27

 28
                                         49 (COMPLAINT)
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 50 of 61 Page ID #:50
       Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 51 of 61 Page ID #:51




All   Images   Videos   News       Maps        Shopping        Books            Flights




                          San bernardino mountai…        MYSTERIOUS ARROWH…
                          pinterest.com                  activerain.com




                          Arrowhead Springs Hotels
                          ci.san-bernardino.ca.us

                                                         arrowhead mountain - O…
                                                         obeki.com · In stock




                          THE arrow that gives Lak…
                          pinterest.com




                                                         Arrowhead Springs, San …
                          SAN BERNARDINO, Cali…          en.wikipedia.org
                          hippostcard.com · Out of st…




                                     EXHIBIT 001
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 52 of 61 Page ID #:52




                          EXHIBIT 002
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 53 of 61 Page ID #:53




                          EXHIBIT 003
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 54 of 61 Page ID #:54




                          EXHIBIT 004
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 55 of 61 Page ID #:55




                          EXHIBIT 005
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 56 of 61 Page ID #:56




                          EXHIBIT 006
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 57 of 61 Page ID #:57




                          EXHIBIT 007
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 58 of 61 Page ID #:58




                 Juan Hong, A Law Corp, Law Office of Juan Hong
                  4199 Campus Drive Suite 550, Irvine, CA 92612
                  Telephone: (949) 334-7710, Fax: (949) 335-6647

March 23, 2022

Blue Triton Brands
900 Long Ridge Road, Building #2
Stamford, CT 06902-1138

Amazon.com, Inc.
410 Terry Ave North, Seattle, WA98109-5210

Mohammadrez Shahrbabki
2630 Walnut Ave. Ste B, Tustin, CA92780-7031


SUBJECT: MIJEONG KIM v. BLUE TRITON BRANDS et al.

       Our law firm represents Mijeong Kim and all other consumers similarly
situated in an action against Defendants Blue Triton Brands et al. arising out of,
inter alia, misrepresentations by Defendants to consumers.

       When Plaintiff purchased the water bottles with icon “ARROWHEAD 100%
MOUNTAIN SPRING WATER” (“the TRITON Product”), she did not read the
backside of the label for the source of the spring water. In the front label of the
bottles, the icon was provided with the background picture of the Arrowhead
mountain and the lake in front of the mountain. Based on the presentations in the
front label, Plaintiff reasonably believed the TRITON Product was from the
springs in the Arrowhead Mountain. Plaintiff would not have purchased the
TRITON Product bottles had she known that the spring water might not be from
the Arrowhead Mountain. Plaintiff would not have purchased the TRITON
Product absent the misrepresentation depicted with the picture of the label.

      In the backside of the label of the TRITON Product bottle, the source of
spring water was not prominently placed thereon with such conspicuousness (as
compared with other words, statements, designs, or devices, in the labeling), and is
not easily legible. The backside label of the TRITON Product bottle lists the
source information as:




                            EXHIBIT 8. 001
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 59 of 61 Page ID #:59




      SOURCES: SOUTHERN PACIFIC SPRING, RIVERSIDE
      COUNTY, CA; ARROWHEAD SPRINGS, SAN BERNARDINO
      COUNTY, CA; LONG POINT RANCH, RUNNING SPRING, CA;
      PALOMAR MOUNTAIN GRANITE SPRINGS (PMGS),
      PALOMAR, CA; DEER CANYON SPRINGS, SAN BERNARDINO
      COUNTY, CA AND/OR COYOTE SPRINGS, INYO COUNTY,
      CA.

      The sources of the spring water include six (6) locations. Arrowhead
Springs is one of them. The spring water of the TRITON Product might not be
from the Arrowhead Mountain. The product was likely misbranded. Plaintiff
bought the TRITON Product bottles which were prohibited from introduction into
commerce because they were misbranded. Plaintiff suffered damages in an
amount to equal to the amounts she paid for the TRITON Product bottles she
purchased.

       Plaintiff’s claim is essentially that, because Defendants’ label of the
TRITON Product does not comply with state and federal requirements regarding
the source of the spring water. Defendants’ product is misbranded and
unmarketable. Plaintiff was misled as a result of the misbranding and suffered.
Plaintiff Mijeong Kim and others similarly situated bring the full claims, including
the facts and circumstances surrounding these claims, are detailed in the Class
Action Complaint.

     Defendants’ representations are misleading and constitute unfair methods of
competition and unlawful, unfair, and fraudulent acts or practices, undertaken by
Defendants with the intent to induce the consuming public to purchase the
TRITON Product.

      Defendants violated and continues to violate the Consumers Legal Remedies
Act (CLRA) by engaging in the following deceptive practices specifically
proscribed by Cal. Civ. Code §1770(a), in transactions with Plaintiff and Class
Members that were intended to result or which resulted in the sale or lease of
goods or services to consumers:

(a) In violation of Cal. Civ. Code §1770(a)(2): Misrepresenting the source,
sponsorship, approval, or certification of goods or services;
(b) In violation of Cal. Civ. Code §1770(a)(4): Using deceptive representations or
designations of geographic origin in connection with goods or services.




                            EXHIBIT 8. 002
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 60 of 61 Page ID #:60




(c) In violation of Cal. Civ. Code §1770(a)(5), Defendants’ acts and practices
constitute misrepresentations that the TRITON Product in question have
characteristics, benefits or uses which they do not have;
(d) In violation of Cal. Civ. Code §1770(a)(7), Defendants misrepresented that the
TRITON Product are of particular standard, quality and/or grade, when they are of
another;
(e) In violation of Cal. Civ. Code §1770(a)(9), Defendants advertised the TRITON
Product with the intent not to sell them as advertised or represented;
(f) In violation of Cal. Civ. Code §1770(a)(16), Defendants represented that “the
subject of a transaction has been supplied in accordance with a previous
representation when it has not.”

       While the Complaint constitutes sufficient notice of the claims asserted,
pursuant to California Civil Code § 1782, we hereby demand on behalf of our
client and all others similarly situated that Defendants immediately correct and
rectify this violation of California Civil Code § 1770 by ceasing the misleading
marketing campaign and ceasing dissemination of misleading information as
described in the enclosed Complaint. In addition, Defendants should offer to
refund the purchase price to all consumer purchasers of the TRITON Product, plus
reimbursement for interest, costs, and fees.

        Plaintiff will, after 30 days from the date of this letter, amend the Complaint
without leave of Court, as permitted by California Civil Code § 1782, to include
claims for actual and punitive damages (as may be appropriate) if a full and
adequate response to this letter is not received. These damage claims also would
include claims under the Consumers Legal Remedies Act. Thus, to avoid further
litigation, it is in the interest of all parties concerned that Defendants address these
violations immediately.

      Defendants must undertake all of the following actions to satisfy the
requirements of California Civil Code § 1782(c):

(1) Identify or make a reasonable attempt to identify purchasers of the TRITON
Product for the three years prior to March of 2022;

(2) Notify all such purchasers so identified that upon their request, Defendants
will offer an appropriate remedy for its wrongful conduct, which can include a full
refund of the purchase price paid for the TRITON Product, plus interest, costs fees,
by mailing them a notice via certified mail. Provide this office with proof that you
delivered the notice to everyone referenced;



                             EXHIBIT 8. 003
Case 2:22-cv-01907-FLA-E Document 1 Filed 03/23/22 Page 61 of 61 Page ID #:61




(3) Undertake (or promise to undertake within a reasonable time if it cannot be
done immediately) the actions described above for all the TRITON Product
purchasers who so request; and

(4) Cease from representing to consumers that TRITON Product provides the
benefits described in the aforementioned Defendants’ labels and advertisements,
when there is no reasonable basis for so claiming, as more fully described in the
enclosed Complaint.

We await your response.

                                             Sincerely yours,
                                             /s/ Juan Hong
                                             Juan Hong
                                             LAW OFFICE OF JUAN HONG
                                             4199 Campus Drive Suite 550
                                             Irvine, CA 92612




                            EXHIBIT 8. 004
